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Vs. No. 04-20095-01-Ma

NABIL HAIMED,

Defendant.

 

ORDER ON CHANGE OF PLEA
AND SETTING

 

This cause came to be heard on June 13, 2005, the United
States Attorney for this district, Stephen Parker, appearing for
the government and the defendant, Nabil Haimed, appearing in
person and With counsel, Jeffrey Jones.

With leave of court, the defendant Withdrew the not guilty
plea heretofore entered and entered a plea of guilty to Count l
of the Indictment.

Plea colloquy Was held and the court accepted the guilty
plea.

SENTENCING in this case is SET for WEDNESDAY, SEPTEMBER 14,
2005, at 9:00 A.M., in Courtroom No. 2, on the 11th floor before
Judge Samuel H. Mays, Jr.

Defendant is allowed to remain released on the present bond.

ENTERED this j day of June, 2005.

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

Thie document entered on the docket sheet in e§mplz'ance
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ThiS notice confirms a copy cf the document docketed as number 104 in
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Stephen C. Parker

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Honcrable Samuel Mays
US DISTRICT COURT

